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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

    BILL SIEBERT,

           Plaintiff,

    vs.                                              Case No.: 2:18-cv-796-FtM-99-MRM
    NOVAK ENVIRONMENTAL
    SERVICES, LLC,
           Defendant.

          JOINT NOTICE AND STIPULTION OF NONOBJECTION TO
                   REPORT AND RECOMMENDATION

          Plaintiff, BILL SIEBERT and Defendant, NOVACK ENVIRONMENTAL

   SERVICES, LLC, by and through undersigned counsel, jointly notify the Court that they do

   not object to the Report and Recommendation of Magistrate Judge McCoy recommending

   that the parties’ Joint Motion to Approve Settlement and Dismiss with Prejudice be granted

   and approved (Doc. 22). The parties waive their right to file written objections within

   fourteen (14) days and jointly stipulate to the entry of an order by the District Court Judge

   adopting the Report and Recommendation.

          Dated: July 8, 2019


    /s/ Jason L. Gunter                             /s/ Adam S. Chotiner
    Jason L. Gunter, Esq.                           Adam S. Chotiner, Esq.
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                                CERTIFICATE OF SERVICE

         I hereby certify that I have electronically filed the foregoing with the Clerk of the

   Court by using the CM/ECF system on July 8, 2019.

                                                        /s/ Jason L. Gunter
                                                        JASON L. GUNTER




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